CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 1 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 2 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 3 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 4 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 5 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 6 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 7 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 8 of 9
CASE 0:20-cr-00291-DSD-DTS Doc. 89 Filed 07/07/22 Page 9 of 9
